                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                         CRIMINAL DOCKET NO.: 5:95CR6

UNITED STATES OF AMERICA            )
                                    )
            vs                      )
                                    )                      ORDER
SHAHBORN EMMANUEL (2),              )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s pro se “Motion Requesting the

Grand Jury Minutes for Reasons of Attacking the Indictments,” filed May 8, 2006.

       On October 5, 1995, pursuant to a written Plea Agreement with the Government,

Defendant pled guilty to Count One of the Bill of Indictment. Subsequent to entering this plea,

the Court ordered Defendant to undergo a psychiatric evaluation. On August 1, 1997, the Court

held a competency hearing at which time the Court determined that based on the psychiatric

evaluation, Defendant was competent. Also on August 1, 1997, the Court sentenced Defendant

to 84 months imprisonment to run concurrently with any sentence Defendant was already serving

and with any sentence for which Defendant was currently subject. Defendant did not file an

appeal or a Section 2255 motion.

       On December 9, 2005, Defendant filed a Motion to Withdraw Guilty Plea, which the

Court denied in an Order filed February 2, 2006. Defendant appealed the denial of that Motion,

and on May 24, 2006, the United States Court of Appeals for the Fourth Circuit affirmed this

Court’s denial of Defendant’s Motion to Withdraw Guilty Plea. Defendant now requests a copy

of the grand jury minutes “so that the petitioner Shahborn Emmanuel may challenge the


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indictment.”

       Subject to conditions directed by the Court, disclosure of a grand-jury matter is permitted

at the request of a defendant who shows that a ground may exist to dismiss the indictment

because of a matter that occurred before the grand jury. FED . R. CRIM . P. 6(e)(3)(E)(ii). In the

instant case, Defendant does not provide any showing that the Indictment in the instant case may

be subject to dismissal because of a matter that occurred before the grand jury. Therefore,

disclosure of the grand jury minutes is not warranted.

       IT IS, THEREFORE, ORDERED, that Defendant’s pro se “Motion Requesting the

Grand Jury Minutes for Reasons of Attacking the Indictments” is hereby DENIED.




                                                 Signed: August 3, 2006




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